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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

VANESSA HARDING-BEY
    Plaintiff
v.                                                    CASE NO.: 6:20-cv-1110

PATHWAYS THERAPY SERVICES, LLC
  A Florida Company
JASON COMISKEY, and
DENISE COMISKEY
       Defendants.
________________________/

                     COMPLAINT AND DEMAND FOR JURY TRIAL
Plaintiff, VANESSA HARDING-BEY, (hereinafter “Plaintiff”) by and through her undersigned
counsel, hereby sues Defendants, PATHWAYS THERAPY SERVICES, LLC, (hereinafter,
“PATHWAYS”) A Florida Company, JASON COMISKEY, and DENISE COMISKEY
(Collectively, “Defendants”) and alleges the following:
1.     This is an action by Plaintiff against her former employer pursuant to the Fair Labor

       Standards Act (“FLSA”) 29 U.S.C. § 201, et seq., and for breach of contract. Plaintiff seeks

       damages for, unpaid minimum wage, liquidated damages, unpaid wages and reasonable

       attorney fees and costs.

2.     The unlawful employment practices and breach of contract alleged below were committed

       within Brevard County, Florida. This Court has jurisdiction pursuant to 29 U.S.C. § 216(b)

       and 28 U.S.C. § 1367.

3.     At all times material herein, Plaintiff is and has been a resident of Brevard County, Florida.

4.     At all times material hereto, Plaintiff was employed by Defendants and was an employee

       within the meaning of the FLSA, 29 U.S.C. 203(e)(1).

5.     At all times material hereto Plaintiff was engaged in commerce or in the production of

       goods for commerce per 29 U.S.C. § 207(a).
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6.    At all times material hereto, PATHWAYS is and has been an administratively dissolved

      Florida company and which conducted business in Brevard County, Florida.

7.    Defendants are an employer as defined by the FLSA 29 U.S.C. § 203 because it hired and

      directed Plaintiff to perform work for its benefit. At all times material, Defendants have

      conducted business in the State of Florida.       Defendants hire, control, and manage

      employees in furtherance of its business needs.

8.    At all times relevant to this action Defendant, JASON COMISKEY owned and operated

      PATHWAYS. and who regularly exercised the authority to: (a) hire and fire employees

      of PATHWAYS.; (b) determine the work schedules for the employees of and (c) control

      the finances and operations of PATHWAYS. By virtue of having regularly exercised that

      authority on behalf of PATHWAYS., JASON COMISKEY is/was an employer as

      defined by 29 U.S.C. §201, et seq.

9.    At all times relevant to this action Defendant, DENISE COMISKEY owned and

      operated PATHWAYS. and who regularly exercised the authority to: (a) hire and fire

      employees of PATHWAYS.; (b) determine the work schedules for the employees of and

      (c) control the finances and operations of PATHWAYS. By virtue of having regularly

      exercised that authority on behalf of PATHWAYS., DENISE COMISKEY is/was an

      employer as defined by 29 U.S.C. §201, et seq.

10.   Defendants are engaged in interstate commerce as defined by 29 U.S.C. § 206(a) and

      207(a)(1), because it has made over $500,000.00 in gross sales and/or is engaged in

      commerce with businesses and individuals outside the State of Florida during the time

      period in which the PLAINTIFF was employed.

11.   All conditions precedent to the institution and maintenance of this cause of action have
      been met or waived.
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12.   Plaintiff has retained the law firm of Arcadier, Biggie & Wood, PLLC. to represent her
      interest in this matter and Plaintiff has agreed to pay said firm a reasonable attorney’s fee
      for its services.
                                      General Allegations
13.   Defendants operate an occupational therapy company which provides therapy to people of
      all ages who have an illness or disability in the central Florida region.
14.   Plaintiff worked as an occupational therapy assistant for the Defendants.
15.   As part of her duties working for Defendants, Plaintiff would visit patients to perform
      therapy.
16.   Each visit with a patient lasted approximately one (1) hour.
17.   Defendants agreed to pay Plaintiff a piece rate of $45.00 per visit.
18.   Between April 17, 2020 and May 22, 2020, Plaintiff performed 49 therapy visits as an
      employee of the Defendants.
19.   Plaintiff was not paid for any of those 49 visits.
20.   As a result, Plaintiff suffered $2,205.00 in unpaid wages.
21.   Further, because of Plaintiff not receiving any pay for the 49 visits, Plaintiff was paid less
      than the minimum wage for every hour worked.
22.   In total, Plaintiff worked approximately 66.75 hours for the Defendant between April 17,
      2020 and May 22, 2020.
23.   As a result, Plaintiff suffered unpaid minimum wage damages in the amount of $483.94.

             VIOLATION OF THE MINIMUM WAGE PROVISIONS OF
           THE FAIR LABOR STANDARDS ACT UNDER FEDERAL LAW
24.   Plaintiff re-alleges and incorporates paragraphs 1 through 23 of this Complaint as set

      forth in full herein.

25.   Defendants violated 29 U.S.C. § 206, the (“Federal minimum wage provision”) by failing

      to compensate the Plaintiff at a rate not less than $7.25 an hour for each hour worked.

26.   Specifically, Defendants failed to pay Plaintiff for approximately sixty-six and three

      quarts (66.75) hours of work.
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27.    Plaintiff was entitled under FLSA to be paid minimum wages for each hour worked during

       her employment with Defendants.

28.    Defendants’ actions were intentional, reckless or malicious.

29.    Defendants actions were willful and not in good faith.

30.    Defendant did not have a good faith basis for their decision not to pay Plaintiff her unpaid

       minimum wages.

31.    As a direct, foreseeable, and proximate cause of Defendants’ actions Plaintiff has been

       damaged.

WHEREFORE, Plaintiff prays for judgment against Defendants for all damages to which she

may be entitled, including, but not limited to:

       A.      Unpaid minimum wages found to be due and owing;

       B.      An additional and equal amount of liquidated damages;

       C.      An award of reasonable attorney’s fees and all costs incurred herein; and

       D.      All other damages to which Plaintiffs may be entitled



                            COUNT II: BREACH OF CONTRACT
                                     UNPAID WAGE

32.    Plaintiff re-alleges and incorporates paragraphs 1 through 23 of this Complaint as set forth

       in full herein.

33.    This is an action for unpaid wages owed to the Plaintiff and attorney’s fees and costs are

awardable pursuant to Florida Statue 448.08.

34.    At all times material hereto, Plaintiff was employed by PATHWAYS.

35.    Plaintiff and PATHWAYS entered into an employment agreement wherein Plaintiff would

provide services for the benefit of Defendants to which Defendants would compensate Plaintiff.
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36.    PATHWAYS agreed to compensate Plaintiff a piece rate of $45.00 per visit.

37.    Plaintiff is owed for 49 visits which she worked for the Defendants yet remains

uncompensated.

38.    Plaintiff fully complied with the terms of the parties’ agreement by performing her job

duties in a professionally competent manner.

39.    Defendants breached the agreement by failing to pay Plaintiff her wages owed for her

employment.

40.    Plaintiff was damaged in the amount of $2,205.00 as a result of wages being withheld by

Defendants.

41.    Defendant’s actions were willful and not in good faith.

WHEREFORE, Plaintiff pray for judgment against Defendants for all damages to which they

may be entitled, including, but not limited to:

       A. Judgment for the back pay found to be due and owing to the Plaintiff.

       B. Award of reasonable attorney’s fees, cost and interest incurred herein; and

       C. Such other relief as this Court deems just and equitable.

                                  DEMAND FOR JURY TRIAL

Plaintiff demands a jury trial on all issues herein triable by jury.

DATED this 23rd day of June 2020.

                                               ARCADIER, BIGGIE &WOOD, PLLC.

                                               /s/ Joseph C. Wood, Esquire
                                               Joseph C. Wood, Esquire
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                                               Maurice Arcadier, Esquire
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